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4
     Attorney for Defendant
5
6
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,           )   No. Cr.S. 04-104 DFL
                                         )
12             Plaintiff,                )   STIPULATION AND ORDER
                                         )   RESETTING THE HEARING DATE
13        v.                             )
                                         )
14                                       )
     MARK ERCKERT,                       )   Date:     August 24, 2006
15                                       )   Time:     10:00 a.m.
               Defendants.               )   Judge:    Hon. David F. Levi
16                                       )
     _______________________________
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18
          The defendant Mark Erckert, by and through counsel Krista Hart,
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     along with the plaintiff United States (government), by and through
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     counsel Assistant U.S. Attorney Phil Ferrari, hereby stipulate and
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     agree the hearing currently set for August 24, 2006, should be reset
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     for September 28, 2006.     The parties also agree the defendant’s reply
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     brief would be due by September 14, 2006.
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          It is further stipulated and agreed between the parties that the
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     period of time from August 24, 2006, and September 28, 2006, should be
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     excluded in computing the time within which the trial of the above
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     criminal prosecution must commence for purposes of the Speedy Trial
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1    Act.     All parties stipulate and agree that this is an appropriate
2    exclusion of time within the meaning of Title 18, United States Code,
3    sections 3161(h)(8)(B)(iv) (Local Code T4).
4            The undersigned is currently in trial in Sacramento Superior Court
5    and anticipates beginning another trial immediately following the
6    completion of the first trial.         The additional time is necessary to
7    prepare the reply and to ensure counsel is available for the hearing.
8    August 24, 2006                            /s/ Krista Hart
                                               Attorney for Mark Erckert
9
10
     August 24, 2006                           McGREGOR SCOTT
11                                             United States Attorney
12
13                                              /s/ Phil Ferrari
                                               Assistant U.S. Attorney
14                                             (Signed by Krista Hart, per e-mail)
15
16                                         O R D E R
17
18   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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20   DATED: 8/24/2006
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23                                                  DAVID F. LEVI
24                                                  United States District Judge

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28                                              2
